                          EXHIBIT C




25-43017-prh   Doc 83-3   Filed 07/09/25   Entered 07/09/25 16:54:45   Page 1 of 21
25-43017-prh   Doc 83-3   Filed 07/09/25   Entered 07/09/25 16:54:45   Page 2 of 21
25-43017-prh   Doc 83-3   Filed 07/09/25   Entered 07/09/25 16:54:45   Page 3 of 21
25-43017-prh   Doc 83-3   Filed 07/09/25   Entered 07/09/25 16:54:45   Page 4 of 21
25-43017-prh   Doc 83-3   Filed 07/09/25   Entered 07/09/25 16:54:45   Page 5 of 21
25-43017-prh   Doc 83-3   Filed 07/09/25   Entered 07/09/25 16:54:45   Page 6 of 21
25-43017-prh   Doc 83-3   Filed 07/09/25   Entered 07/09/25 16:54:45   Page 7 of 21
25-43017-prh   Doc 83-3   Filed 07/09/25   Entered 07/09/25 16:54:45   Page 8 of 21
25-43017-prh   Doc 83-3   Filed 07/09/25   Entered 07/09/25 16:54:45   Page 9 of 21
25-43017-prh   Doc 83-3   Filed 07/09/25   Entered 07/09/25 16:54:45   Page 10 of 21
25-43017-prh   Doc 83-3   Filed 07/09/25   Entered 07/09/25 16:54:45   Page 11 of 21
25-43017-prh   Doc 83-3   Filed 07/09/25   Entered 07/09/25 16:54:45   Page 12 of 21
25-43017-prh   Doc 83-3   Filed 07/09/25   Entered 07/09/25 16:54:45   Page 13 of 21
25-43017-prh   Doc 83-3   Filed 07/09/25   Entered 07/09/25 16:54:45   Page 14 of 21
25-43017-prh   Doc 83-3   Filed 07/09/25   Entered 07/09/25 16:54:45   Page 15 of 21
25-43017-prh   Doc 83-3   Filed 07/09/25   Entered 07/09/25 16:54:45   Page 16 of 21
                                      Professional Services Invoice


Couvreur Family Limited Partnership                                                           07/08/25
131 Lake Shore Road                                                               Invoice #: 10953697
Grosse Pointe Farms, MI 48236                                                     Thru Date: 06/30/25

Attention: Timothy Couvreur


Billing Attorney: 1125 - Jerabek, Marc
RE: Couvreur Landlord Tenant / 20930 Mack Avenue, Inc.

Opposing Party: 20930 Mack Avenue, Inc.

Open Date: 10/14/22
Our File: 29341-23932
Your File:



           Current Fees Due                                                $2,697.50
           Current Disbursements                                               $0.00

           Total This Invoice                                               $2,697.50




Please remit to:
Via Check:                                      Wire:
Plunkett Cooney                                 ABA: 041000124
38505 Woodward, Ste. 100                        Bank Account Number: 4245724427
Bloomfield Hills, MI 48304
                                                ACH:
Via ACH or Wire:                                ABA: 021052053
Bank Name: PNC Bank                             Bank Account Number: 89429274
Bank Location: Pittsburgh, PA
Bank Account Name: Plunkett Cooney, P.C.        Remittance to:
                                                  remit-mailbox@plunkettcooney.com




     25-43017-prh       Doc 83-3   Filed 07/09/25   Entered 07/09/25 16:54:45   Page 17 of 21
Page 2                                                                               Our File: 29341-23932
Bill # 10953697                                                                                  Your File:
07/08/25




                                  BILL FOR SERVICES RENDERED

  DATE            TKPR                      DESCRIPTION                      HRS

06/02/25          MJ      REVIEW/ANALYZE (NO CHARGE) PROPOSED                 0.10            N/C
                          STIPULATION REGARDING ADJOURNMENT OF
                          STATUS CONFERENCE.
06/02/25           MJ     REVIEW/ANALYZE (NO CHARGE) REVISED AND              0.10            N/C
                          SUBMITTED STIPULATION TO ADJOURN STATUS
                          CONFERENCE (STIPULATED BY DEBTOR, HAGE,
                          AND SUB-CHAPTER V TRUSTEE).
06/02/25          DAL     REVIEW/ANALYZE (NO CHARGE) E MAILS RE               0.40            N/C
                          ADJOURNING STATUS CONFERENCE AND NON
                          PAYMENT OF RENT
06/02/25          MJ      COMMUNICATE (WITH CLIENT) WITH TIM                  1.00
                          COUVREUR VIA MULTIPLE EMAILS AND
                          MULTIPLE TELEPHONE CALLS RE:


06/02/25          MJ      COMMUNICATE (OTHER OUTSIDE COUNSEL)                 0.50
                          WITH ATTYS LYNN BRIMER, CHUCK MOURANIE,
                          RONNA JACKSON, SCOTT KWIATKOWSKI, AND
                          PATRICK FORTUNA VIA MULTIPLE EMAILS RE:
                          PROPOSED ADJOURNMENT OF STATUS
                          CONFERENCE, OPPOSITION TO SAME, LACK OF
                          JUNE RENT.
06/02/25          MJ      COMMUNICATE (OTHER OUTSIDE COUNSEL)                 0.30
                          WITH ATTY SCOTT KWIATKOWSKI VIA
                          TELEPHONE RE: POTENTIAL GLOBAL
                          RESOLUTION, DISCUSSIONS WITH MOURANIE,
                          NEXT STEPS.
06/02/25          MJ      COMMUNICATE (OTHER OUTSIDE COUNSEL)                 0.30
                          WITH ATTY LYNN BRIMER VIA TELEPHONE RE:
                          ONGOING SETTLEMENT DISCUSSIONS,
                          INVOLVEMENT OF MOURANIE, JUNE RENT.
06/02/25          MJ      COMMUNICATE (OTHER EXTERNAL) (NO                    0.20            N/C
                          CHARGE) WITH CHUCK MOURANIE VIA
                          TELEPHONE AND EMAIL RE: POTENTIAL
                          RESOLUTION, ADJOURNMENT OF STATUS
                          CONFERENCE.
06/03/25          DAL     DRAFTING OF PROOF OF CLAIM FOR AMOUNTS              0.60
                          OWED AS OF BANKRUPTCY FILING
06/03/25          MJ      REVIEW/ANALYZE (NO CHARGE) AMENDED                  0.10            N/C
                          STIPULATION TO ADJOURN STATUS
                          CONFERENCE (FILED BY DEBTOR).
06/03/25          MJ      REVIEW/ANALYZE (NO CHARGE) ORDER                    0.10            N/C
       25-43017-prh       DENYING
                         Doc       AS MOOT
                             83-3 Filed       REQUEST
                                        07/09/25      FOR
                                                 Entered 07/09/25 16:54:45   Page 18 of 21
Page 3                                                                              Our File: 29341-23932
Bill # 10953697                                                                                 Your File:
07/08/25

  DATE            TKPR                  DESCRIPTION                         HRS
                          ADJOURNMENT OF STATUS CONFERENCE.
06/03/25           MJ     COMMUNICATE (WITH CLIENT) WITH TIM                 0.60
                          COUVREUR VIA EMAIL AND TELEPHONE RE:



06/03/25           MJ     COMMUNICATE (OTHER OUTSIDE COUNSEL) (NO            0.20            N/C
                          CHARGE) WITH ALL COUNSEL VIA MULTIPLE
                          EMAILS RE: CANCELLATION OF STATUS
                          CONFERENCE, INSPECTION OF HAGE BUILDING.
06/03/25          MJ      COMMUNICATE (OTHER EXTERNAL) WITH                  0.50
                          CHUCK MOURANIE VIA TELEPHONE RE:
                          POTENTIAL GLOBAL RESOLUTION, SETTLEMENT
                          DISCUSSIONS TO DATE, ANTICIPATED
                          ADJOURNMENT OF STATUS CONFERENCE,
                          STRATEGY FOR PROCEEDING.
06/04/25          MJ      COMMUNICATE (WITH CLIENT) (NO CHARGE)              0.10            N/C
                          WITH TIM COUVREUR VIA EMAIL RE:
                                                          .
06/05/25          DAL     REVIEW/ANALYZE (NO CHARGE) PROOF OF                0.20            N/C
                          CLAIM FOR UNPAID NATURAL GAS BILLS
06/09/25          DAL     COMMUNICATE (WITH CLIENT) E MAIL                   0.20


06/10/25          MJ      REVIEW/ANALYZE (NO CHARGE) NOTICE OF               0.10            N/C
                          OPEN HOUSE.
06/10/25          MJ      COMMUNICATE (WITH CLIENT) (NO CHARGE)              0.10            N/C
                          WITH TIM COUVREUR VIA EMAIL RE:
                                           .
06/10/25          DAL     COMMUNICATE (WITH CLIENT) (NO CHARGE) E            0.20            N/C
                          MAIL FROM TIM RE

06/10/25          DAL     COMMUNICATE (OTHER OUTSIDE COUNSEL) E              0.20
                          MAIL TO DEBTOR COUNSEL RE LACK OF
                          PAYMENT ON RENT
06/12/25          DAL     COMMUNICATE (WITH CLIENT) E MAIL FROM TIM          0.30
                          RE                   E MAIL TO DEBTOR
                          COUNSEL RE ONLY PARTIAL RENT PAID
06/13/25          DAL     REVIEW/ANALYZE PROOF OF CLAIM BY HAGE              0.30
                          ESTATE AND PROOFS OF CLAIM FROM CASH
                          MERCHANT CREDITORS
06/16/25          MJ      REVIEW/ANALYZE ORDER EXTENDING                     0.10
                          DEADLINE TO FILE PLAN AND RELATED
                          DEADLINES.
06/16/25          DAL     COMMUNICATE (WITH CLIENT) (NO CHARGE) E            0.30            N/C
                          MAILS WITH TIM RE

06/17/25          DAL     COMMUNICATE (WITH CLIENT) E MAIL WITH TIM          0.20
       25-43017-prh       RE83-3 Filed 07/09/25 Entered 07/09/25 16:54:45
                         Doc                                                Page 19 of 21
Page 4                                                                                    Our File: 29341-23932
Bill # 10953697                                                                                       Your File:
07/08/25

  DATE            TKPR                       DESCRIPTION                         HRS

06/18/25          MJ      REVIEW/ANALYZE LEASE TERMS, STRATEGY FOR                0.20
                          PROCEEDING.
06/20/25          DAL     REVIEW/ANALYZE AMENDED ORDER FOR                        0.30
                          CONFIRMATION DATES
06/24/25          DAL     REVIEW/ANALYZE MOTION TO ASSUME LEASE, E                0.70
                          MAIL WITH TIM RE

06/24/25           MJ     COMMUNICATE (WITH CLIENT) WITH TIM                      0.20
                          COUVREUR VIA EMAIL RE:


06/24/25          MJ      COMMUNICATE (OTHER OUTSIDE COUNSEL)                     0.20
                          WITH ATTY EVAN KAPLOE VIA TELEPHONE RE:
                          LACK OF COMMUNICATION FROM HAGE'S
                          ESTATE, POTENTIAL STATUS CONFERENCE, JUNE
                          RENT, EXTENDING DEADLINE TO
                          ASSUME/REJECT LEASE.
06/25/25          MJ      REVIEW/ANALYZE (NO CHARGE) RECENT                       0.20             N/C
                          BANKRUPTCY CASE FILINGS, STRATEGY FOR
                          PROCEEDING.
06/25/25          DAL     COMMUNICATE (WITH CLIENT) (NO CHARGE) E                 0.40             N/C
                          MAILS WITH TIM RE

06/25/25          DAL     COMMUNICATE (OTHER OUTSIDE COUNSEL) (NO                 0.40             N/C
                          CHARGE) DISCUSSION WITH SUBCHAPTER V
                          TRUSTEE ON HAGE BUILDING
06/26/25          MJ      REVIEW/ANALYZE STRATEGY FOR MOTION TO                   0.30
                          ASSUME LEASE, POTENTIAL OBJECTION,
                          VIABILITY OF RESTAURANT.
06/27/25          DAL     DRAFTING OF OBJECTION TO ASSUMPTION OF                  1.30
                          LEASE, REVIEW REVISED SPREADSHEET OF
                          AMOUNT DUE UNDER LEASE
06/30/25          DAL     COMMUNICATE (WITH CLIENT) (NO CHARGE) E                 0.20             N/C
                          MAIL TIM RE


                          TOTAL ATTORNEY HOURS AND FEES                           11.70           $2,697.50

TOTAL HOURS AND FEES                                                              11.70           $2,697.50
NET FEES DUE                                                                                      $2,697.50


                                            HOURS RECAP


                            HOURS                                      RATE         AMOUNT

       25-43017-prh      Doc 83-3     8.3007/09/25
                                    Filed             @
                                                     Entered           325.00
                                                             07/09/25 16:54:45   Page2,697.50
                                                                                      20 of 21
Page 5                                                                                 Our File: 29341-23932
Bill # 10953697                                                                                    Your File:
07/08/25

                                  3.40             @                  0.00                0.00

             TOTALS              11.70




                                         ATTORNEY RECAP

TIMEKEEPER                                          HOURS                     RATE           AMOUNT

0188 - Lerner, David A                                  4.10     @            325.00          $1,332.50
1125 - Jerabek, Marc                                    4.20     @            325.00          $1,365.00
0188 - Lerner, David A                                  2.10     @              0.00              $0.00
1125 - Jerabek, Marc                                    1.30     @              0.00              $0.00

TOTAL HOURS AND FEES                                   11.70                                  $2,697.50
NET FEES                                                                                      $2,697.50




       25-43017-prh   Doc 83-3   Filed 07/09/25   Entered 07/09/25 16:54:45   Page 21 of 21
